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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

CHRISTOPHER McCROBIE, individually,                          15-CV-0018-LJV-MJR
 and on behalf of others similarly situated,                 AMENDED
                     Plaintiff,                              ORDER OF PRELIMINARY
                                                             PRETRIAL CONFERENCE
       -v-

PALISADES ACQUISITION XVI, LLC,
ASTA FUNDING, INC.,
HOUSLANGER & ASSOCIATES, PLLC, and
TODD HOUSLANGER,
                  Defendants.
___________________________________________

       This action has been referred to the undersigned by the Hon. Lawrence J. Vilardo for entry
of a Scheduling Order, in accordance with Fed.R.Civ.P. (“Rule”) 16 and Local Rule 16.

       Each party, including any party appearing without counsel, shall appear before this Court
on 10/31/2019 at 11:45 a.m. for the purpose of entry of a Case Management Order as required
by Rule 16(b).

        All parties should note that the case is subject to mandatory pretrial mediation as required
by the Court’s recently adopted Alternative Dispute Resolution Plan (“the ADR Plan”). The parties
are urged to consult the ADR Plan, a copy of which is available from the Clerk of Court and on
the Court’s website at www.nywd.uscourts.gov.

        As required by Rule 26(f), the parties shall confer at least 21 days prior to the Rule 16(b)
hearing as scheduled above for (1) preparation of the required Proposed Discovery Plan, and
(2) to propose to the Court a Case Management Order that will establish outside cut-off dates for
the further progress of this case (see attachment).

       The proposed Discovery Plan and Case Management Order shall, pursuant to Rule 26(f),
be submitted to the Court in writing at least 14 days prior to the Rule 16(b) conference. In
preparing the proposed Case Management Order, please bear in mind that, absent extraordinary
circumstances, dispositive motions are due within 12 months of the Rule 16(b) conference,
meaning that all discovery (fact and expert) must be completed prior to that deadline.

       All parties should be prepared to address at the conference any anticipated electronic
discovery issues that may arise.

       The parties are encouraged to consider the attached consent to proceed before a United
States Magistrate Judge in a civil case pursuant to Title 28 of the United States Code, Section
636(c). If the parties wish to consent, they must execute the consent form and return it to the
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Clerk of Court for processing. The consent form SHOULD NOT be returned to the presiding
district judge or to the magistrate judge. However, no substantive adverse consequences will
result should the parties elect not to consent.

       SO ORDERED.

DATED:        September 25, 2019
              Buffalo, New York

                                           /s/ Michael J. Roemer
                                           MICHAEL J. ROEMER
                                           United States Magistrate Judge
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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK


                     NOTICE OF RIGHT TO CONSENT TO DISPOSITION
                                   OF A CIVIL CASE
                       BY A UNITED STATES MAGISTRATE JUDGE


PLEASE TAKE NOTICE pursuant to Title 28 U.S.C. §636(c) that, if all parties to this civil action
(or their attorneys) consent, a full-time United States Magistrate Judge of this Court may conduct
any or all proceedings therein, including the conducting of a jury or non-jury trial and order entry
of a final judgment. A copy of the appropriate consent form is attached.

Your decision to consent or not to consent to a referral of your case to a U.S. Magistrate Judge
is entirely voluntary. Unless all parties have consented, no District Court Judge or Magistrate
Judge is to be informed of anyone’s decision to consent or not to consent. NO consent form will
be accepted for filing unless there is tendered a signed Consent form for EVERY party to the
action. Therefore, in actions involving more than one plaintiff, or more than one defendant, one
party must collect all the consents and file them together.

Even though all parties consent to disposition of the case by a Magistrate Judge, this opportunity
is subject to the calendar requirements of the Court. Accordingly, it is subject to approval by the
District Judge assigned to the case.

Pursuant to Title 28 U.S.C. §636(c)(3 & 4) any appeal from a judgment in a case decided by a
Magistrate Judge lies directly to the United States Court of Appeals for the Second Circuit unless
the parties further consent at the time the case is referred to the Magistrate Judge to appeal to a
District Court Judge.

Procedures relating to these matters are set forth in Local Rule 73 of the Local Rules of Civil
Procedure for the Western District of New York.




                                    MARY C. LOEWENGUTH
                                      CLERK OF COURT
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________
                                                            CASE NO.

                                                            CONSENT TO PROCEED
                              Plaintiff,                    BEFORE A UNITED STATES
       v.                                                   MAGISTRATE JUDGE


                        Defendant.
________________________________________

       In accordance with the provisions of 28 U.S.C. §636(c), the undersigned party or parties

to the above-captioned civil matter hereby voluntarily consent to have Magistrate Judge Michael

J. Roemer conduct any and all further proceedings in the case, including trial, and order the entry

of final judgment. Any appeal from the judgment in this case shall be taken to the United States

Court of Appeals for the Second Circuit.


Plaintiff(s):
Signature: ___________________________________________ Date:_________________

Print Name: ___________________________________________


Defendant(s):
Signature: __________________________________________ Date:___________________

Print Name: __________________________________________

____________________________________________________________________________

                                    ORDER OF REFERENCE

       IT IS HEREBY ORDERED that the above-captioned matter be referred to Magistrate

Judge Michael J. Roemer for all further proceedings and the entry of judgment in accordance with

28 U.S.C. §636(c) and foregoing consent of the parties.



___________________                                  ___________________________________
Date                                                 United States District Judge
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK
______________________________________

                                                                CASE MANAGEMENT ORDER

                                Plaintiff,

v.



                        Defendant.
_______________________________________


       Pursuant to the Text Order referring the above case to the undersigned for pretrial
procedures and the entry of a scheduling order as provided in Fed.R.Civ.P. (“Rule”) 16(b) and
Local Rule 16, and a conference with counsel having been held,

        IT IS ORDERED that:

              1.      In accordance with Section 2.1A of the Plan for Alternative Dispute
            1
Resolution, this case has been referred to mediation.

                2.      Motions to opt out of ADR shall be filed no later than ________________.

               3.      Compliance with the mandatory disclosure requirements found in
Rule 26(a)(1) will be accomplished no later than ____________________.

                4.      The parties shall confer and select a Mediator, confirm the Mediator’s
availability, ensure that the Mediator does not have a conflict with any of the parties in the case,
identify a date and time for the initial mediation session, and file a stipulation confirming their
selection on the form provided by the Court no later than ____________________. If the parties
do not file a stipulation confirming their selection of a mediator by this deadline, the Court will
select a mediator in accordance with Section 5.4(C)(2) of the ADR Plan.

               5.    All motions to join other parties and to amend the pleadings shall be filed
no later than ____________________.

                6.      The initial mediation session shall be held no later than ______________.


1
          A copy of the ADR Plan, a list of ADR Neutrals, and related forms and documents can be found
at http://www.nywd.uscourts.gov or obtained from the Clerk’s Office.
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                 7.     All motions to compel shall be filed no later than ___________________.
If a discovery disputes arises, the movant must advise the undersigned of the dispute and request
a conference by submitting a letter (copying opposing counsel) to the Court as soon as possible
and no later than the deadline to complete fact discovery. See Rule 16(b)(3)(B)(v). Upon review
of the letter, a conference will be scheduled with the parties to attempt to resolve the issue
informally. If the dispute is not resolved informally, the parties will be given the opportunity to file
a formal motion. This informal discovery dispute resolution process is not expedited motion
practice. Therefore, letter submissions should provide a brief overview of the issue with
supporting documentation and the parties’ positions. Parties do not waive arguments by failing
to raise them in their letter submissions.

               8.     All fact discovery shall be completed no later than __________________.

              9.     The parties shall identify any expert witnesses and produce their reports
pursuant to Fed.R.Civ.P. 26(a)(2) as follows:

                       (a)     plaintiffs shall identify any expert witnesses and produce their
                       reports by ____________________;

                       (b)     defendants shall identify any expert witnesses and produce their
                       reports by ____________________;

                       (c)     plaintiffs shall identify any rebuttal expert witnesses and produce
                       their reports by ____________________; and

                       (d)     defendants shall identify any rebuttal expert witnesses and produce
                       their reports by ____________________.

               10.     All expert depositions shall be completed no later than ______________.

             11.     Pretrial dispositive motions, if any, shall be filed no later than _________.
Such motions shall be made returnable before the undersigned.

              12.    If no pretrial dispositive motions are filed, the parties shall contact the
chambers of the Hon. Lawrence J. Vilardo by ____________________ to schedule a trial date.

               13.     Mediation sessions may continue, in accordance with Section 5.11 of the
ADR Plan, until ____________________. The continuation of mediation sessions shall not delay
or defer other dates set forth in this Case Management Order.

       No extension of the above deadlines will be granted except upon written
application, filed prior to the deadline, showing good cause for the extension. The parties
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are reminded that “a finding of ‘good cause’ depends on the diligence of the moving party”.
Parker v. Columbia Pictures Industries, 204 F.3d 326, 340 (2d Cir. 2000).

       SO ORDERED.


DATED:
              Buffalo, New York


                                          __________________________________
                                          MICHAEL J. ROEMER
                                          United States Magistrate Judge
